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  1         IN THE UNITED STATES DISTRICT COURT FOR THE
  2                  WESTERN DISTRICT OF MISSOURI
  3
  4    RACHEL AUMICK, Individually)
       and on behalf of the Heirs )
  5    at Law of SHANE AUMICK,    )
       Deceased,                  )
  6                               )
                   Plaintiff,     )
  7                               )
       VS.                        )Case No. 6:21-cv-03072-BP
  8                               )
       DOUGLAS COUNTY, MISSOURI, )
  9    et al.,                    )
                                  )
 10                Defendants.    )
 11
 12
 13     VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF STEVE IJAMES
 14                TAKEN ON BEHALF OF THE PLAINTIFF
 15                    IN OKLAHOMA CITY, OKLAHOMA
 16                          ON JULY 20, 2022
 17
 18
 19                  REPORTED BY:     DAVID BUCK, CSR
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 22
 23
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 25



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                                                       Exhibit A
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  1         A.   I don't recall anything from Mr. Mills'
  2    deposition that formulated an opinion or that I
  3    specifically referenced.
  4         Q.   Okay.   Sir, I have pulled up here the first
  5    page of your expert report and opinions, Page 2.
  6    Initially you provide an incident overview and if we
  7    turn to the second page it looks like you then start
  8    adding excerpts of deposition of Officer Berkshire.
  9    Is that correct?
 10         A.   Yes, ma'am.
 11         Q.   Okay.   Would you agree with me that Officer
 12    Berkshire's report is not consistent with the body
 13    camera footage available or the eyewitness account of
 14    Meri Aumick?
 15         A.   I would have to ask you to give me some
 16    specific examples.       I do recall and I think I
 17    reference some conflict in testimony between him and
 18    Meri, but if you had a specific question I could -- I
 19    could say yes or no, but I can't tell you from memory
 20    each area that I may or may not have thought was not
 21    perfectly mirrored by the video and/or what the
 22    decedent's mother said.
 23         Q.   Okay.   And what I am referencing is this
 24    narrative area of his report where he references that
 25    the suspect descended down the stairs from the porch



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  1    when he placed his light on him and he pulled a weapon
  2    on him.
  3              Do you recall reviewing that in the body
  4    camera footage?
  5         A.   No, ma'am.    I think, as I recall, his
  6    narrative report indicates he didn't have the body
  7    camera turned on when he thought he did, but I think I
  8    did reference in my opinion that conflict between what
  9    he said occurred and what the deceased's mother said
 10    occurred.
 11         Q.   Okay.   Will you also agree that there is no
 12    body camera footage of this narrative and conflicting
 13    testimony between Officer Berkshire and Ms. Aumick at
 14    the scene with regard to the pulling of the weapon and
 15    this knife altercation?
 16         A.   Yeah, if you're asking if I saw body camera
 17    footage in reference to that conversation, et cetera,
 18    the answer is no.
 19         Q.   Okay.   As a police commander and in your
 20    experience, sir, would that make you question the
 21    voracity of Officer Berkshire's report?
 22         A.   If we assume that his testimony is true about
 23    he thought the video was on and it wasn't, then that
 24    would be one explanation for why it might not be on
 25    the video, that he hadn't pushed the button, but



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  1    certainly when you have conflicting statements between
  2    as in this case the deceased's mother and the officer,
  3    any outright conflicting statement always causes
  4    question as concerning what actually happened.
  5         Q.    And you had the opportunity to review the
  6    deposition testimony of Ava Officer Dewyane
  7    Butterworth.       Correct?
  8         A.    Correct.
  9         Q.    And would you agree with me that Officer
 10    Butterworth had concerns because this alleged knife
 11    altercation was not on the body camera footage, which
 12    would be in violation of the Ava police policies?
 13         A.   Correct, he should have turned by policy the
 14    video on the moment he stepped out of the car,
 15    correct.
 16         Q.    And would you agree with me that that is
 17    important because the body camera footage is there to
 18    make sure no one says the police have said or done
 19    something that they haven't and to document what
 20    actually did happen?
 21         A.   Sure.    I mean, there's reasons why we use body
 22    cameras and the two examples you gave would be
 23    included, correct.
 24         Q.    Okay.   The next page of your report shows a
 25    still frame on Page 4 of Plaintiff's decedent Shane



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